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IN THE COURT OF COMMON PLEAS
GENERAL DIVISION
FRANKLIN COUNTY, OHIO

TECHNICARE OF COLUMBUS,

LLC. :

10366 Liberty Road South : Judge:
Powell, Ohio 43065 :

 

TECHNICARE OF LOUISVILLE,
LLC.

10366 Liberty Road South

Powell, Ohio 43065

AND

TECHNICARE OF ATLANTA,
LLC.

10366 Liberty Road South
Powell, Ohio 43065

Plaintiffs,
¥.

GATEHOUSE MEDIA OHIO

HOLDINGS II, INC.

AKA Dispatch Digital D :

Statutory Agent : Case No:
Corporation Service Company :

50 West Broad Street

Suite 1330

Columbus, Ohio 43215

AND

DISPATCH DIGITAL D, $ JURY DEMAND ENDORSED
AKA Propel Marketing : HEREIN

AKA Thrive Hive :

Statutory Agent

Gatehouse Media Ohio Holdings I, Inc.

175 Sully’s Trail

Pittsford, New York 14534
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Defendants.

COMPLAINT FOR FRAUD, BREACH OF CONTRACT, NEGLIGENCE,
UNJUST ENRICHMENT, CONVERSION, CIVIL CONSPIRACY AND
DECEPTIVE TRADE PRACTICES,

Plaintiffs, Technicare of Columbus, LLC, Technicare of Louisville, LLC. And
Technicare of Atlanta, LLC (hereinafter known as “Technicare”) by and through counsel,
Attorney Nicholas Kolitsos, for Technicare’s complaint against defendant Gatehouse
Media Ohio Holdings II, Inc. (hereinafter known as “Gatehouse”, Dispatch Digital D,

AKA Thrive Hive, AKA, Propel Marketing. (hereinafter known also known as “Propel”’),

(Defendants), states as follows:

Parties

1. Technicare of Columbus, LLC is a duly registered Ohio Corporation with its principal
place of business being located in Powell, Ohio. Technicare is primarily engaged in
providing cleaning services to consumers.

2. Technicare of Louisville, LLC is a duly registered Ohio Corporation with its principal
place of business being located in Powell, Ohio. Technicare is primarily engaged in
providing cleaning services to consumers.

3. Technicare of Atlanta, LLC is a duly registered Ohio Corporation with its principal
place of business being located in Powell, Ohio. Technicare is primarily engaged in

providing cleaning services to consumers.
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4, Gatehouse is a registered Delaware corporation duly registered as a foreign
corporation in the State of Ohio. Gatehouse is primarily engaged in the business of

providing digital marketing services to commercial clients.

5. Dispatch Digital D (AKA Thrive Hive, AKA Propel Marketing), is an entity of
Gatehouse Media that provides digital marketing services to Gatehouse Media
customers. Dispatch Digital D, is primarily engaged in the business of providing

digital marketing services to clients

JURISDICTION AND VENUE

6. The Court has subject matter jurisdiction under R.C. 2305.01.

7. As provided by R.C. 2307.382, the Court has personal jurisdiction over the
Defendants as the Defendants transacted business in Franklin County, Ohio,
contracted in Franklin County, Ohio, and caused tortious injury in Franklin County,

Ohio.

8. As provided by Civil Rule 3(B), venue is proper in Franklin County, Ohio, as both a
county in which Defendants conducted activities that give rise to this Complaint and

as a county in which all or part of the claims for relief arose.
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9, The allegations and claims in this action are intended to assert rights and causes of
action only under and pursuant to the laws of the State of Ohio. No claim or cause of
action herein is made to assert any right, question, issue or cause of action under any
federal law of the United States. It is the specific intention of Plaintiff to litigate his
claims and causes of action in the Court of the State of Ohio. Therefore, should the
allegations of this Complaint and/or any evidence adduced during discovery in the
action imply, suggest or indicate in any way any possibility that Plaintiff herein is
asserting or claiming any right or cause of action pursuant to any federal law or the
United States, Plaintiff specifically eschews and rejects any such implication,
suggestion or indication and hereby announces and asserts, in advance, that Plaintiff
is not pursuing and has never intended to pursue such a claim, right or cause of action
under any federal law of the United States, thereby precluding any effort by
Defendant at any time after the filing of this Complaint to remove this action to any

federal court based upon federal question jurisdiction.

ACTIVITIES OF GATEHOUSE AND PROPEL THAT GIVE RISE TO THIS
COMPLAINT

10. The gravamen of this Complaint relates to, among other things, a quasi-contract
entered into between Plaintiff, Technicare, and the Defendants for digital marketing

services
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Plaintiff, Technicare, attempting to take advantage of the new technology available to
its business through online marketing contracted with Columbus Dispatch Digital, a
Franklin County corporation that provides afore mentioned online marketing tools to

small businesses.

The services contracted for by Technicare included Search Engine Optimization and

Search Engine Marketing among other services.

Search Engine Marketing (hereinafter referred to as “SEM”) is a type of internet
marketing that promotes websites by increasing the websites visibility in search

engine results and paid advertisements on Google.

Search Engine Optimization (hereinafter referred to as “SEO”) includes various
techniques and tactics that will increase the amount of traffic of potential customers

to a specific website.

Technicare contracted with Columbus Dispatch Digital in March of 2013 to provide

the afore mentioned services.

Columbus Dispatch Digital provided such services until it was taken over by

Gatehouse who acquired Columbus Dispatch Digital’s operations on June 15, 2015.

Gatehouse proceeded to present a proposal alongside Propel to implement new digital

marketing services for the Plaintiff, Technicare.

Plaintiff paid a substantial sum to Defendant, Gatehouse, since it acquired and took

over Columbus Dispatch Digital’s marketing services.
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Plaintiff was unaware of any wrong doing or negligent conduct by Defendant's until
Plaintiff had an issue where links set up and in control of Defendants were sending

customers to incorrect landing pages of Technicare’s website.

Plaintiff, Technicare, was assured multiple times by Defendants that the ads were

directing potential customers to the correct pages.

Technicare purchased additional software that allowed Plaintiff to observe potential

customers moving throughout their website in real time,

Plaintiff realized upon observing potential customers activity that they were leaving
the Technicare website after they were directed via Defendants URL link to incorrect
landing pages that had absolutely nothing to do with the ads that led the potential

customers to Technicare’s website.

Plaintiff then began to look into the services being provided by Defendant further and

discovered a plethora of issues with the services being provided by Defendants.

Plaintiff was informed when entering into services, taken over by Gatehouse in 2015
that the management fee was a charge of thirty-five percent (35%) for the Google

AdWords media spend.

AdWords as defined by Google is Google’s online advertising program which allows
the user to reach potential customers exactly when they are interested in the products

and services that the user provides.
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26. Plaintiff wanted to increase ad spend by two (2) times the prior amount being spent
on ad’s around the end of the year 2015 after Defendant had taken over Plaintiff's

digital marketing.

27. Towards the of the year 2015 and into the beginning of the year 2016 Plaintiff
increased the add spend by two times the previous amount doubling the cost of their

digital advertising budget.

28. Upon information and belief the Defendant without informing Plaintiff increased the

management fee when Plaintiff doubled the amount spent on digital advertising.

29. Upon information and belief Defendant concealed the management fee increase

through the doubled spend on Plaintiff's digital advertising.

30. Plaintiff was not aware of the increase in the management fee and. until plaintiff
specifically requested information from Defendant did not have any reason to suspect
or believe that the management fee was increased from the contracted for thirty-five

percent (35%).

31. Plaintiff, in fact was not being charged a thirty-five percent (35%) fee for the media

spend and in fact was being charged a fifty percent (50%) fee for the media spend.

32. After repeated requests to be provided with the management fee cost and information
regarding the management fee Plaintiff was thoroughly ignored by Defendant (See

Exhibit C).
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Even though Plaintiff requested confirmation of what he was being charged for the
management fee from Defendants. Defendants never responded with a specific
answer until counsel was retained and able to ascertain the exact management fee

being charged.

Google policies require third party agencies, such as Defendants, to be completely

transparent in regards to the management fees being charged for their services.

Upon further investigation Plaintiff became aware that Defendants additionally never
was administrating or managing Technicare’s Google Local account (now known as

Google My Business).

Google My Business according to Google is a free and easy to use tool for businesses
and organizations to manage their online presence across Google, including Search
and Maps. By verifying editing the account owner’s business information, the
business can both help customers find the business and allow the business to tell the

local customers the story of their local business.

Plaintiff’s Google My Business (previously known as “Google Local” also previously

known as “Google Plus”) account was transferred to Defendant.

Defendant was the only entity that had access to Plaintiff's Google My Business

Account.

Defendant included administration of Google My Business in the services that they

provide to SEO and SEM customers (See Exhibit D).
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Plaintiff additionally never administered or managed Technicare’s Yelp account.

Yelp is an online service that was founded in 2004 to help potential customers find
great local businesses. Yelp uses automated software to recommend local business
and reviews of local businesses to potential customers seeking the services that a

particular business offers. Additionally, Yelp brings local updates concerning local

businesses to potential customers.

Both Google My Business and Yelp administration and management is standard
industry practice in the digital marketing industry and especially important to local

business like the Plaintiff.

COUNT I
FRAUD

The allegations contained in paragraphs one through thirty are re-alleged and

incorporated as if fully restated herein.

. Defendants, Gatehouse and Propel, made material misrepresentations and concealed

matters of material fact, acted with knowledge of the falsity or disregard and
recklessness toward the truth or falsity of the misrepresentations and omissions they
made, acted with purposeful intent to mislead the Plaintiff into relying upon those
misrepresentations and omissions, and the Plaintiff was justified in relying upon said

misrepresentations and omissions.
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As a direct and proximate result of such fraud, the Technicare has suffered monetary

damage and irreparable harm in an amount to be determined at trial.

COUNT II
BREACH OF CONTRACT
The allegations contained in paragraphs one through thirty-three are re-alleged and

incorporated as if fully restated herein.

Technicare fully performed its obligations by paying for Defendants services,
however Defendants did not perform the services required, among other things,
failing to perform correct URL linking from ad pages to the correct landing pages,
failure to disclose and make completely transparent the management fee, failure to
administer and or manage Technicare’s Yelp and Google My Business accounts as
required under industry standard. The failure of performance by the Defendants are a

material breach of the agreement entered into between the parties.

As a direct and proximate result of Defendants breach of the Agreement, Technicare

has incurred damages and been injured in an amount to be determined at trial.

COUNT III
NEGLIGENCE

The allegations contained in paragraphs one through forty-five are re-alleged and

incorporated as if fully restated herein.
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Defendant owed duty to provide the services that it contracted for to Plaintiff.
Defendant owed a duty to conform to industry standard and to provide the quality of
services reasonably expected of Defendant.

Defendant breached that duty owed to Plaintiff by failing to and/or negligently
providing services.

Defendant's breach of its duty cause Plaintiff substantial harm including but not
limited to significant monetary loss.

Defendant knew or should have known that by breaching the duty owed to Plaintiff
that the resulting harm would be suffered.

As a direct and proximate result of Defendants breach of the duty owed to Plaintiff,
Technicare has incurred damages and been injured in an amount to be determined at

trial.

COUNT IV
UNJUST ENRICHMENT
The allegations contained in paragraphs one through thirty-six are re-alleged and

incorporated as if fully restated herein.

Defendant's, has received the benefits of Technicare’s substantial monetary payment
for services and has not performed under the agreement to the extent required by
industry standard as well as the payment of the management fee fraudulently being

raised without informing the Plaintiff.
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58. Fairness requires that Defendant’s, Gatehouse and Propel, reimburse the fees charged
to Plaintiff and provide Technicare with expected return on investment and lost

profits, attorneys fees, and interest to be calculated at trial.

COUNT V
CONVERSION
59, The allegations contained in paragraphs one through thirty-nine are re-alleged and
incorporated as if fully restated herein.
60. Defendants, Gatehouse and Propel exercised dominion and control over payments, in
which Technicare had an interest to such an extent that the funds controlled by

Defendants can longer be construed to be Plaintiff's.

61. As aresult of Defendants, Gatehouse and Propel, conversion of joint venture assets,

Technicare has been damaged and injured in an amount to be determined at trial.

COUNT VI
CIVIL CONSPIRACY

62. The allegations contained in paragraphs one through forty-two are re-alleged and

incorporated as if fully restated herein.
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Defendants, Gatehouse and Dispatch maliciously combined to, among other things,
increase the AdWord Marketing Fee, not provide agreed upon or standard industry

services in order to reap the benefits of the money being provided by Plaintiff.

As a result of Defendants’ civil conspiracy, Technicare has been damaged and injured

in an amount to be determined at trial.

COUNT VII
DECEPTIVE TRADE PRACTICES UNDER
OHIO REVISED CODE CHAPTER 4165

The allegations contained in paragraphs one through forty-five are re-alleged and

incorporated as if fully restated herein.

Under Ohio Revised Code Chapter 4165.01 (D) “person” means an individual,
corporation, ... partnership, unincorporated association, limited liability company,
two or more of any of the foregoing having a joint or common interest, or any other

legal or commercial entity.

Technicare is a “person” as defined by Ohio Revised Code Chapter 4165.01 (D).

Under Ohio Revised Code 4165.02 Defendants conducted and engaged in deceptive

trade practices.
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69. As a result of Defendants’ Deceptive Trade Practices, Technicare has been damaged

and injured in an amount to be determined at trial.

WHEREFORE, Plaintiff, Technicare, demands judgment against Defendants, in excess
of twenty-five thousand dollars ($25,000) as to each of the following:

A. For compensatory damages against Defendants in an amount to be determined at trial;
B. For punitive damages against Defendants in an amount to be determined at trial;

C. For pre- and post-judgment interest;

D. For attorneys’ fees and costs:

E, For such other relief as this Court deems just.

Respectfully submitted,

 

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Nicholas Kolitsos, Esq. (0095938)
Jones Law Group, LLC

513 E. Rich Street

Columbus, Ohio 43215

Phone: (614) 545-9998

Fax: (614) 573-8690

Counsel for Plaintiff
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JURY TRIAL DEMAND
Plaintiff, Technicare, by and through counsel, hereby demands a trial by jury on

all issues able to be tried.

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NIC HOLAS KOLITSOS (0095938) >
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IN THE COURT OF COMMON PLEAS
GENERAL DIVISION
FRANKLIN COUNTY, OHIO

TECHNICARE OF COLUMBUS,

LLC. :

10366 Liberty Road South : Judge:
Powell, Ohio 43065 :

 

TECHNICARE OF LOUISVILLE,
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10366 Liberty Road South

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AND

TECHNICARE OF ATLANTA,
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10366 Liberty Road South
Powell, Ohio 43065

Plaintiffs,
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GATEHOUSE MEDIA OHIO

HOLDINGS II, INC.

AKA Dispatch Digital D :

Statutory Agent : Case No:
Corporation Service Company :

50 West Broad Street

Suite 1330

Columbus, Ohio 43215

AND

DISPATCH DIGITAL D, $ JURY DEMAND ENDORSED
AKA Propel Marketing : HEREIN

AKA Thrive Hive :

Statutory Agent

Gatehouse Media Ohio Holdings I, Inc.

175 Sully’s Trail

Pittsford, New York 14534
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Defendants.

COMPLAINT FOR FRAUD, BREACH OF CONTRACT, NEGLIGENCE,
UNJUST ENRICHMENT, CONVERSION, CIVIL CONSPIRACY AND
DECEPTIVE TRADE PRACTICES,

Plaintiffs, Technicare of Columbus, LLC, Technicare of Louisville, LLC. And
Technicare of Atlanta, LLC (hereinafter known as “Technicare”) by and through counsel,
Attorney Nicholas Kolitsos, for Technicare’s complaint against defendant Gatehouse
Media Ohio Holdings II, Inc. (hereinafter known as “Gatehouse”, Dispatch Digital D,

AKA Thrive Hive, AKA, Propel Marketing. (hereinafter known also known as “Propel”’),

(Defendants), states as follows:

Parties

1. Technicare of Columbus, LLC is a duly registered Ohio Corporation with its principal
place of business being located in Powell, Ohio. Technicare is primarily engaged in
providing cleaning services to consumers.

2. Technicare of Louisville, LLC is a duly registered Ohio Corporation with its principal
place of business being located in Powell, Ohio. Technicare is primarily engaged in
providing cleaning services to consumers.

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place of business being located in Powell, Ohio. Technicare is primarily engaged in

providing cleaning services to consumers.
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4, Gatehouse is a registered Delaware corporation duly registered as a foreign
corporation in the State of Ohio. Gatehouse is primarily engaged in the business of

providing digital marketing services to commercial clients.

5. Dispatch Digital D (AKA Thrive Hive, AKA Propel Marketing), is an entity of
Gatehouse Media that provides digital marketing services to Gatehouse Media
customers. Dispatch Digital D, is primarily engaged in the business of providing

digital marketing services to clients

JURISDICTION AND VENUE

6. The Court has subject matter jurisdiction under R.C. 2305.01.

7. As provided by R.C. 2307.382, the Court has personal jurisdiction over the
Defendants as the Defendants transacted business in Franklin County, Ohio,
contracted in Franklin County, Ohio, and caused tortious injury in Franklin County,

Ohio.

8. As provided by Civil Rule 3(B), venue is proper in Franklin County, Ohio, as both a
county in which Defendants conducted activities that give rise to this Complaint and

as a county in which all or part of the claims for relief arose.
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9, The allegations and claims in this action are intended to assert rights and causes of
action only under and pursuant to the laws of the State of Ohio. No claim or cause of
action herein is made to assert any right, question, issue or cause of action under any
federal law of the United States. It is the specific intention of Plaintiff to litigate his
claims and causes of action in the Court of the State of Ohio. Therefore, should the
allegations of this Complaint and/or any evidence adduced during discovery in the
action imply, suggest or indicate in any way any possibility that Plaintiff herein is
asserting or claiming any right or cause of action pursuant to any federal law or the
United States, Plaintiff specifically eschews and rejects any such implication,
suggestion or indication and hereby announces and asserts, in advance, that Plaintiff
is not pursuing and has never intended to pursue such a claim, right or cause of action
under any federal law of the United States, thereby precluding any effort by
Defendant at any time after the filing of this Complaint to remove this action to any

federal court based upon federal question jurisdiction.

ACTIVITIES OF GATEHOUSE AND PROPEL THAT GIVE RISE TO THIS
COMPLAINT

10. The gravamen of this Complaint relates to, among other things, a quasi-contract
entered into between Plaintiff, Technicare, and the Defendants for digital marketing

services
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Plaintiff, Technicare, attempting to take advantage of the new technology available to
its business through online marketing contracted with Columbus Dispatch Digital, a
Franklin County corporation that provides afore mentioned online marketing tools to

small businesses.

The services contracted for by Technicare included Search Engine Optimization and

Search Engine Marketing among other services.

Search Engine Marketing (hereinafter referred to as “SEM”) is a type of internet
marketing that promotes websites by increasing the websites visibility in search

engine results and paid advertisements on Google.

Search Engine Optimization (hereinafter referred to as “SEO”) includes various
techniques and tactics that will increase the amount of traffic of potential customers

to a specific website.

Technicare contracted with Columbus Dispatch Digital in March of 2013 to provide

the afore mentioned services.

Columbus Dispatch Digital provided such services until it was taken over by

Gatehouse who acquired Columbus Dispatch Digital’s operations on June 15, 2015.

Gatehouse proceeded to present a proposal alongside Propel to implement new digital

marketing services for the Plaintiff, Technicare.

Plaintiff paid a substantial sum to Defendant, Gatehouse, since it acquired and took

over Columbus Dispatch Digital’s marketing services.
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Plaintiff was unaware of any wrong doing or negligent conduct by Defendant's until
Plaintiff had an issue where links set up and in control of Defendants were sending

customers to incorrect landing pages of Technicare’s website.

Plaintiff, Technicare, was assured multiple times by Defendants that the ads were

directing potential customers to the correct pages.

Technicare purchased additional software that allowed Plaintiff to observe potential

customers moving throughout their website in real time,

Plaintiff realized upon observing potential customers activity that they were leaving
the Technicare website after they were directed via Defendants URL link to incorrect
landing pages that had absolutely nothing to do with the ads that led the potential

customers to Technicare’s website.

Plaintiff then began to look into the services being provided by Defendant further and

discovered a plethora of issues with the services being provided by Defendants.

Plaintiff was informed when entering into services, taken over by Gatehouse in 2015
that the management fee was a charge of thirty-five percent (35%) for the Google

AdWords media spend.

AdWords as defined by Google is Google’s online advertising program which allows
the user to reach potential customers exactly when they are interested in the products

and services that the user provides.
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26. Plaintiff wanted to increase ad spend by two (2) times the prior amount being spent
on ad’s around the end of the year 2015 after Defendant had taken over Plaintiff's

digital marketing.

27. Towards the of the year 2015 and into the beginning of the year 2016 Plaintiff
increased the add spend by two times the previous amount doubling the cost of their

digital advertising budget.

28. Upon information and belief the Defendant without informing Plaintiff increased the

management fee when Plaintiff doubled the amount spent on digital advertising.

29. Upon information and belief Defendant concealed the management fee increase

through the doubled spend on Plaintiff's digital advertising.

30. Plaintiff was not aware of the increase in the management fee and. until plaintiff
specifically requested information from Defendant did not have any reason to suspect
or believe that the management fee was increased from the contracted for thirty-five

percent (35%).

31. Plaintiff, in fact was not being charged a thirty-five percent (35%) fee for the media

spend and in fact was being charged a fifty percent (50%) fee for the media spend.

32. After repeated requests to be provided with the management fee cost and information
regarding the management fee Plaintiff was thoroughly ignored by Defendant (See

Exhibit C).
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Even though Plaintiff requested confirmation of what he was being charged for the
management fee from Defendants. Defendants never responded with a specific
answer until counsel was retained and able to ascertain the exact management fee

being charged.

Google policies require third party agencies, such as Defendants, to be completely

transparent in regards to the management fees being charged for their services.

Upon further investigation Plaintiff became aware that Defendants additionally never
was administrating or managing Technicare’s Google Local account (now known as

Google My Business).

Google My Business according to Google is a free and easy to use tool for businesses
and organizations to manage their online presence across Google, including Search
and Maps. By verifying editing the account owner’s business information, the
business can both help customers find the business and allow the business to tell the

local customers the story of their local business.

Plaintiff’s Google My Business (previously known as “Google Local” also previously

known as “Google Plus”) account was transferred to Defendant.

Defendant was the only entity that had access to Plaintiff's Google My Business

Account.

Defendant included administration of Google My Business in the services that they

provide to SEO and SEM customers (See Exhibit D).
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Plaintiff additionally never administered or managed Technicare’s Yelp account.

Yelp is an online service that was founded in 2004 to help potential customers find
great local businesses. Yelp uses automated software to recommend local business
and reviews of local businesses to potential customers seeking the services that a

particular business offers. Additionally, Yelp brings local updates concerning local

businesses to potential customers.

Both Google My Business and Yelp administration and management is standard
industry practice in the digital marketing industry and especially important to local

business like the Plaintiff.

COUNT I
FRAUD

The allegations contained in paragraphs one through thirty are re-alleged and

incorporated as if fully restated herein.

. Defendants, Gatehouse and Propel, made material misrepresentations and concealed

matters of material fact, acted with knowledge of the falsity or disregard and
recklessness toward the truth or falsity of the misrepresentations and omissions they
made, acted with purposeful intent to mislead the Plaintiff into relying upon those
misrepresentations and omissions, and the Plaintiff was justified in relying upon said

misrepresentations and omissions.
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As a direct and proximate result of such fraud, the Technicare has suffered monetary

damage and irreparable harm in an amount to be determined at trial.

COUNT II
BREACH OF CONTRACT
The allegations contained in paragraphs one through thirty-three are re-alleged and

incorporated as if fully restated herein.

Technicare fully performed its obligations by paying for Defendants services,
however Defendants did not perform the services required, among other things,
failing to perform correct URL linking from ad pages to the correct landing pages,
failure to disclose and make completely transparent the management fee, failure to
administer and or manage Technicare’s Yelp and Google My Business accounts as
required under industry standard. The failure of performance by the Defendants are a

material breach of the agreement entered into between the parties.

As a direct and proximate result of Defendants breach of the Agreement, Technicare

has incurred damages and been injured in an amount to be determined at trial.

COUNT III
NEGLIGENCE

The allegations contained in paragraphs one through forty-five are re-alleged and

incorporated as if fully restated herein.
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Defendant owed duty to provide the services that it contracted for to Plaintiff.
Defendant owed a duty to conform to industry standard and to provide the quality of
services reasonably expected of Defendant.

Defendant breached that duty owed to Plaintiff by failing to and/or negligently
providing services.

Defendant's breach of its duty cause Plaintiff substantial harm including but not
limited to significant monetary loss.

Defendant knew or should have known that by breaching the duty owed to Plaintiff
that the resulting harm would be suffered.

As a direct and proximate result of Defendants breach of the duty owed to Plaintiff,
Technicare has incurred damages and been injured in an amount to be determined at

trial.

COUNT IV
UNJUST ENRICHMENT
The allegations contained in paragraphs one through thirty-six are re-alleged and

incorporated as if fully restated herein.

Defendant's, has received the benefits of Technicare’s substantial monetary payment
for services and has not performed under the agreement to the extent required by
industry standard as well as the payment of the management fee fraudulently being

raised without informing the Plaintiff.
OF048 - GRenbnCev-UD PPG REPBSE ob HeanTy Has PRG a5 AEP WARNS 981258

58. Fairness requires that Defendant’s, Gatehouse and Propel, reimburse the fees charged
to Plaintiff and provide Technicare with expected return on investment and lost

profits, attorneys fees, and interest to be calculated at trial.

COUNT V
CONVERSION
59, The allegations contained in paragraphs one through thirty-nine are re-alleged and
incorporated as if fully restated herein.
60. Defendants, Gatehouse and Propel exercised dominion and control over payments, in
which Technicare had an interest to such an extent that the funds controlled by

Defendants can longer be construed to be Plaintiff's.

61. As aresult of Defendants, Gatehouse and Propel, conversion of joint venture assets,

Technicare has been damaged and injured in an amount to be determined at trial.

COUNT VI
CIVIL CONSPIRACY

62. The allegations contained in paragraphs one through forty-two are re-alleged and

incorporated as if fully restated herein.
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68.

Defendants, Gatehouse and Dispatch maliciously combined to, among other things,
increase the AdWord Marketing Fee, not provide agreed upon or standard industry

services in order to reap the benefits of the money being provided by Plaintiff.

As a result of Defendants’ civil conspiracy, Technicare has been damaged and injured

in an amount to be determined at trial.

COUNT VII
DECEPTIVE TRADE PRACTICES UNDER
OHIO REVISED CODE CHAPTER 4165

The allegations contained in paragraphs one through forty-five are re-alleged and

incorporated as if fully restated herein.

Under Ohio Revised Code Chapter 4165.01 (D) “person” means an individual,
corporation, ... partnership, unincorporated association, limited liability company,
two or more of any of the foregoing having a joint or common interest, or any other

legal or commercial entity.

Technicare is a “person” as defined by Ohio Revised Code Chapter 4165.01 (D).

Under Ohio Revised Code 4165.02 Defendants conducted and engaged in deceptive

trade practices.
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69. As a result of Defendants’ Deceptive Trade Practices, Technicare has been damaged

and injured in an amount to be determined at trial.

WHEREFORE, Plaintiff, Technicare, demands judgment against Defendants, in excess
of twenty-five thousand dollars ($25,000) as to each of the following:

A. For compensatory damages against Defendants in an amount to be determined at trial;
B. For punitive damages against Defendants in an amount to be determined at trial;

C. For pre- and post-judgment interest;

D. For attorneys’ fees and costs:

E, For such other relief as this Court deems just.

Respectfully submitted,

 

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Nicholas Kolitsos, Esq. (0095938)
Jones Law Group, LLC

513 E. Rich Street

Columbus, Ohio 43215

Phone: (614) 545-9998

Fax: (614) 573-8690

Counsel for Plaintiff
Of048 — GaenBnCev-Un De Gls REPBdE H. beHeanTy Has PEGMAG AME ARIS 9126 1

JURY TRIAL DEMAND
Plaintiff, Technicare, by and through counsel, hereby demands a trial by jury on

all issues able to be tried.

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NIC HOLAS KOLITSOS (0095938) >
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Technicare

  
  

SEARCH ENGINE GPCIMEA TION (S883)

Dispatch Digital will optimize the website to obtain the best organic rankings possible. An SEO campaign includes:

WJ
Ww

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Consultation and Competitive Analysis
Basic Site Submission
o Search Engines
* Google
* Yahoo
* MSN/Bing
Local Content Submission
o Three Local Directories
a Google Maps
« Yahoo Local
s §$Bing Local
META Tag Creation
o Page Title
o META Keywords
o META Description
o Link Title & ALT Image tags
Sitemap creation, verification and submission
o META verification Code for the site
a Google Webmaster
* Yahoo Site Explorer
* Bing Webmaster
Link Building
© Submission to 100 Directories per month
o Submission to 100 Social Bookmarking Sites per month
Keyword Reporting
o Access at Google Analytics
o Monthly reporting
Online Video Optimization to include YouTube and Vimeo

 

SEARCH ENGINE MARKETING

   
 
  
  

ws Dispatch Digital will increase traffic to your site while

Google lowering the cost per acquisition (CPA) per new
eustomer. Dispatch Digital manages a professional

SEM campaign designed to provide clients with the

highest Return on Investment (ROD for their marketing

Microsoft = dolar. This approach will enable your website to

Advertising increase tis coaversion of unique. visitors to customers

AVRRIOCN NETWORK — because of Dispatch Digital’s paid search engine

positioning.

Together, Dispatch Digital will develop a specific keyword list for a successful campaign. Through website mining
and text extraction, Dispatch Digital strives to match as precisely as possible the content of its keyword lists to the

content of your site.
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Technicare

 

  

Your Business
The experts for this product. Top
product brands, visit us today!
maps. google. compares

123 Main Street - (123) 55-5595

Wy wei ik ravines - Pinca Page

 

 

 

 

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Dispatch Digital focuses on SEM optimization through keyword analysis. A campaign initially contains thousands
of keywords, Our proprietary bid management system allows Dispatch Digital to identity and separate keywords
that perform and convert while eliminating words which do not add value to the campaign. This methodology of
optimization has a direct positive correlation to Google Quality Score which determines minimum bid and page
placement. Dispatch Digital considers SEM to be a dynamic process which requires continuous adjustments. A
stagnant SEM campaign will most likely be ineffective. Dispatch Digital conducts keyword diagnostics on a daily
basis, guaranteeing constant modifications and the latest search trends, ensuring Dispatch Digital customers will slay
ahead of the competition.

 

BUDGEE

The budgets that follow are etimated based apox our current undersiandiag af ike projects.
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OE048
Technicare

TACTICS COST
Search Engine Optimization -- Research & Implementation $400 One Time Fee
Search Engine Optimization — Dec 2012 ~ Ney 2013 $250 / month
Search Engine Marketing (Paid Search) Dee 2012 — Feb 2013 $400 / month
Search Engine Marketing (Paid Search) Mar 2013 - May 2013 $1250 / month
Search Engine Marketing (Paid Search) June 2013 - August 2013 $500 / month

 

Search Engine Marketing (Paid Search) Sept 2013 — Nov 2013 $1250 / month
All Pricing Includes Columbus, Oh & Louisville, Ky.
75% budget to Cols 25% budget to Louisville.

Total 12 Month Investment Dee 2012 ~ Nov 2013

 

 

 

 

$13,600

 

 

ASSUMPTRINS

The following assumptions have been made in the development of this proposal
e ‘Technicare will do everything to make sure anything needed~ questions, images, URL information, hosting, etc
are answered timely manner to not delay production,

e Inorder to perform SEO services, Dispatch Digital may need FTP access to your website host. SEO services
cannot be performed without this. Cooperation from webmaster to make changes is also necessary

e Dispatch Digital's tactics are in compliance with SEO best practices. Because we are dedicated to your site’s
success, Dispatch Digital will never engage in any black hat SEO techniques, which could potentially result in
your site being blacklisted from the search engines.

¢ ‘This price gunte is valid for 30 days from date of reosipt. Please speak with your Dispatch Digital Representative

for terms and comiilions af services.

SAMPLE REVWORDS

 

 

carpet cleaners company
professional carpet cleaning
home carpet cleaning service
carpet cleaning hire

green carpet cleaners

rate carpet cleaners

carpet cleaning co

local carpet cleaners

steamer carpet cleaning
carpet cleaning solutions
carpet cleaning prices

dry clean carpet cleaning
carpet cleaning tips

all american carpet cleaning
deluxe carpet cleaning
professional carpet cleaning companies
american carpet cleaning
carpet cleaning systems
carpet cleaners rated

advanced window cleaning
commercial window cleaner
american window cleaning
window cleaning cost

window cleaning system
abseiling window cleaning jobs
window cleaning costs
domestic window cleaning
master window cleaners
window washing businesses
house window cleaners
window cleaning products
window washing cost

window cleaning companys
the window cleaners

sunshine window cleaners
residential window cleaning service
paneless window cleaning
abseiling window cleaners

 

 

 
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Technicare

 

 

carpet cleaning quote

green carpet cleaning

safe carpet cleaning

best carpet cleaning companies
apartment carpet cleaning
rainbow carpet cleaning

chem dry carpet cleaners

best carpet cleaning service
carpet cleaning review

rainbow carpet cleaners

budget carpet cleaning

hiring carpet cleaners

carpet cleaners upholstery

local carpet cleaning company
carpet cleaners solutions

carpet cleaners price

chem dry carpet cleaning
stanley steamer carpet cleaning
best commercial carpet cleaners
carpet cleaning methods

carpet cleaners prices

stanley steamers carpet cleaning
carpet cleaning cost

best carpet cleaning company
carpet cleaning

carpet cleaning rates

stanley steamer carpet cleaners
dry steam carpet cleaning

cost of carpet cleaning
professional carpet cleaning services

 

window cleaning businesses
skyline window cleaning
window clean

professional window cleaners
window cleaning contractor
sunshine window cleaning
window cleaning names
professional window washing
window cleaning companies
domestic window cleaners
residential window cleaning
professional window cleaner
window cleaning estimate
residential window cleaner
office window cleaning

city window cleaners

window cleaning rates
window cleaning services
window cleaning price
affordable window cleaning
best window washing
window washing prices
commercia! window cleaning
window washing rates
window cleaning website
commercial window cleaning company
best window cleaning
window washing service
home window washing
window cleaning contracts

 

 
EXHIBIT

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OEO48 -
From: Andrew Mulcahey <AMulcahey@dispatch.com>
Sent: Wednesday, July 08, 2015 11:57 AM
To: Eric VanZwieten
Ce: Jamie Blary
Subject: RE: Search Information
Attachments: Technicare -- SEM SEO -- Window and Carpet Cleaning.pdf

Good afternoon, Eric! | look forward to hearing about your vacation!

To answer the question of management fee. The management fee is 35%, as described on Page 5 and 6 of the
attached. I’ve also included below,

What the 35% entails is.....
Campaign Pre-Launch

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Set-up

Ad Creation

Bidding Strategy

Landing Page Strategy
Campaign Reporting Creation

Campaign Management

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Daily Bid Management

Daily Budget Management

Daily Quality Score Management

Ad Copy Change/Adjustments

Geographic Targeting and Optimization
Keyword Analysis Reports

Keyword Additions and Adjustments
Negative Keyword Additions and Adjustments

Post Campaign Follow-Up

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Reporting {Impressions/Searches, Geo-Targets, Keywords, CTR, Avg. Position)
Google Analytics Analysis and Review

Strategic Post Campaign Roadmap

Cost Per Lead, Conversion Measuring thru Analytics

Let me know if this helps with what the management fee entails and all the work that goes beyond the budget of the
campaign.

Once you’re back, I'll have some more information on the targeted display retargeting and Facebook retargeting we
discussed in our meeting.

Thanks and talk to you when you're back!
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Paid Search

Search Engine Marketing (SEM) Campaign Consultation & Pre-Launch

 

+ Campaign Goals Conauttation « Website Content / Structure Analysis

¢ Define Campaign Success i « Otgenic v5. Paid Search Analysis

+ Competitive Anetyeds "+ Campaign Time Frame

: + Conference Call / Communicator Schedule for
Oelne Geo -Taqgets Campaign Ma nent

* Decuss Budget Parameters » Indudes 35% M ement Fee
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Campaign Pre-Launch Strategy

« Geogle Adwords & Yahoo/Bing Account ‘Se Up

* Keyword Research lot Google Adwords & . ;
Yahoo/Bing Networks Ad Text Creation / Approval

+ Ad Group Creanon * antent Nebyork Placement Strategy
« Bid Strategy * Campaign Reporting Creation

+ Landing Page Strategy

Search Engine Marketing (SEM) Campaign Management

Google Adwords & Yahoo!Bing Project Management Strategy

« Daily Bid Management

« Baty Budget Management

« Daily Quality Score Managenvent

« Ad Copy Change and Adjustments

* Geographic Targeting Analysis and Adjustments

* Keyword Analysis Reports

» Keyword Additions and Adjustments

« Wegalive Keyword Additions and Adusiments
* Content Network Managemen

Search Engine Marketing (SEM) Reporting & Post Campaign Follow-Up

On Site Campaign Results Consultation

 

« Review Campaigns by (Geo-Fargets, Keywords, * Stategic Fost Campaign Roadmap
Impressions, CTR) + SEO Recommendations
* Google Analytics Analysis and Review + Digital & Traddional Media‘Markeling Review

 

 

 

Andrew Mulcahey

Dispatch Media Group
Office: 614-469-6035
Cell: 614-745-7544

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GROUP

Fro: Eric Va rizwleten mailto: erievz@mytechnicare. eal
Sent: Friday, July 03, 2015 7:34 AM

To: Andrew Mulcahey

Ce: Jamie Blary

Subject: RE: Search Information

Sounds good Andrew, let get it going? | would like to promote our $99 special going on for carpet cleaning and window
cleaning. You can find both offers on our web site.
Also, one question you did not answer, how much of our SEM spend is going to ads?

Thanks,
Eric

From: Andrew Mulcahey [mailto:AMulcahey@dispatch.com]
Sent: Thursday, July 2, 2015 10:06 PM
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To: Eric VanZwieten (ericvz@mytechnicare.com)
Cc: Jamie Blary
Subject: Search Information

Hi Eric (...or Eva)! Great seeing you today. Have a great trip in CO!

Like you asked, | wanted to send over the search information we discussed earlier today. For the Retargeting, I’m going
to take a deeper dive into your Google Analytics to provide a more in-depth/targeted campaign to reach your
goals.....we can finalize that portion once you're back.

If the attachments and my notes below don’t fully answer all your questions, don’t hesitate to give me a call on the
phone to discuss. (...0Il be in the car most of Friday morning driving to Pittsburgh, so I’m available until about
2p) Sounded like you wanted to have things decided before you go on vacation.

e PPC(SEM) —I’ve attached the SEM proposal. This goes in-detail about the campaign (nothing has changed), but
Page 9 is where the specifics about pricing are. I've also included them below in bullet points. REMINDER, the
estimated clicks are conservative estimate numbers.

o Columbus, OH Market
= Window Cleaning -- $500 per month, 50-90 estimated clicks
= Carpet Cleaning -- $500 per month, 40-80 estimated clicks
o Louisville, KY Market
= Window Cleaning -- $575 per month, 50-90 estimated clicks
= Carpet Cleaning -- $575 per month, 40-80 estimated clicks

*®  SEO- Please see notes below

© I've attached an Audit we ran that reflects where the site stands right now. This 19-page audit is broken
out in 14 different categories and ranks where MyTechnicare.com currently stands. In the top right
hand corner of the category page, you will notice a score that is out of 10.

o SEO Timetable...,.this .PDF waiks through the timetable for what you're looking for. Page 1 reviews the
1* 30 Days, Page 2 reviews Days 30-90, the last page reviews On-Going Maintenance that is happening
each month.....along with growing organic rankings.

o Inthe last 90 days without running an SEO campaign, MyTechnicare.com is down 30% in all organic
rankings. Not showing up in the first couple pages.

o After talking with Sara today, she said the previous rate of $525 is still good and will cover all 3 locations!

Moving forward, we can start this campaign after the holiday weekend on Monday once we get an OK from you. We
would just need to know if there are any special offers or wording we want to put into the PPC ads. We can use the
same PPC ads as before. For example, we've also promoted 30% off, 10% off, 4 areas for $99. Also, will you want to
drive traffic to the homepage of the site or to the Schedule Now! page? In our last campaign, we sent traffic to the
homepage.

Feel free to call if there’s anything else | can help with answering! Here to help.

Andrew Mulcahey

Dispatch Media Group
Office: 614-469-6035
Cell; 614-745-7544

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Dispatch Broadcast Group does not discriminate in the sale of advertising time and will not accept advertising which is placed with the intent to discriminate on the
basis of race or ethnicity. Any provision in any order or agreement for advertising that purports to discriminate, or has the effect of discriminating, on the basis of
face or ethnicity, is hereby declared null and void.

 

Dispatch Broadcast Group does not discriminate in the sale of advertising time and will not accept adverlising which is placed with the Intent to discriminate on the
basis of race or ethnicity. Any provision in any order or agreement for advertising that purports to discriminate, or has the effect of discriminating, on the basis of
race or ethnicily, is hereby declared null and void.
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Nick Kolitsos

From: Daniel O'Brien <dobrien@propelmarketing.com>

Sent: Tuesday, April 25, 2017 1:39 PM

To: Eric VanZwieten

Ce: Jacob Myers; Emily Adams; Blary, Jamie

Subject: Re: Technicare - Highest rated, local, pet friendly, lowest price!
Hey Eric,

Apologies for the tate response here. | hope to have the new numbers and URLs updated by EOD today.
Dan
On Tue, Apr 25, 2017 at 4:09 AM, Eric VanZwieten <ericvz@mytechnicare.com> wrote:

Dan, | have not heard back from you on the URL stuff either. Have you implemented the URL changes in our ads
yet? Or are we still sending ads to pages that don’t make sense to the visitor?

From: Eric VanZwieten

Sent: Friday, April 21, 2017 3:18 PM

To: ‘Daniel O'Brien' <dobrien@propelmarketing.com>

Cc: Jacob Myers <jmyers@propelmarketing.com>; Emily Adams <eadams@propeldmg.com>; Blary, Jamie
<jbla dispatch.com>; ‘Krzysztof Turowski' <turikke@gmail.com>

Subject: RE: Technicare - Highest rated, local, pet friendly, lowest price!

Hey Dan, glad someone was listening! | have been using a tool to watch our site visitors live on our site. | can see the
url they used to get to the site and | can watch them move from one page to the next. | have noticed when visitors
come from our facebook ads the url looks like this:

https://www.mytechnicare.com/?utm source=Propel Social&utm medium=Facebook Ads&utm campaign=Technicar
e Columbus

Instead of directing people who have clicked on a carpet cleaning ad to our home page, we should be directing them to
our carpet cleaning page.

We should also be setting up some other parameters for them as well, so our site is geared towards their
experience. We should be displaying the correct branch, phone number, service and discount. If you use the

BranchSlug parameter the site will display the correct phone number

Use these parameters in the url to make this happen:
_ Gagenbiineev-wn Dio Ges Rieppde Hh em nuny Bias PR GeMarI06 AGP A RSENI9 2012 72

https://www.mytechnicare.com/carpet-cleaning/
service=carpet-cleaning

branchSlug=columbus

branchSlug=louisville

e branchSlug=atlanta

* coupon=3Area99

e coupon=4Areai29

* coupon=FreePetTreatment

OEO48

Example:

https://www.mytechnicare.com/carpet-cleaning/?service=carpet-
cleaning&branchSlug=columbus&coupon=3Area99&utm_source=Propel Social&utm medium=Facebook Ads&utm_ca
mpaign=Technicare_ Columbus

 

This same concept should be used with our SEM if at all possible.

Also, | have seen some negative comments on Facebook that our same ad keeps showing up on a person’s wall, so |
want to make sure we are using as many different variations of our ads as possible.

Thanks,

Eric

From: Daniel O'Brien [mailto:dobrien@propelmarketing.com]
Sent: Friday, April 21, 2017 1:59 PM

To: Eric VanZwieten <ericvz@mytechnicare.com>
Ce: Jacob Myers <jmyers@propelmarketing.com>; Emily Adams <eadams@propeldmg.com>; Blary, Jamie
<jblary@dispatch.com>

Subject: Re: Technicare - Highest rated, local, pet friendly, lowest price!

Thanks Eric! Just circling back and letting you know we're working on incorporating that language into the Facebook
ads and the SEM ad copy

Dan

On Thu, Apr 13, 2017 at 5:37 PM, Eric VanZwieten <ericvz@mytechnicare.com> wrote:

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| Hi team, | would like all of our advertising focus to be on carpet cleaning and these four concepts: Highest rated, local,
pet friendly, lowest price,

e We want to start taking advantage of the fact that we have the highest rating of any local carpet cleaning
company in Facebook, Google Reviews, Yelp and Angie’s List.

¢ We are a local company and we have a local owner at each ane of our branches. People like local, so let’s make

it sure people know we are local.

« We are pet friendly in two ways, we are very good at getting out pet accidents and the process we use and the
chemicals we use are very safe for pets.

Especially our carpet cleaning prices are very competitive and we definitely have the lowest prices of anyone
rated even close to us.

We are in the process of getting these four concepts into as much marketing communication as possible. Ifa
homeowner has a pet, we want them to understand that we are the right company to call. There are a lot of
homeowners with pets and they need their carpets cleaned often!

We are running two specials that get some of these concepts across, 1 area of free pet treatment and $99 for 3 areas.
| We need to start getting creative in order to get the attention of pet owners.

| would like to make sure that our visual branding stays fairly consistent. Please see the attached as example and you
‘| can check out our latest posts on facebook. We are going to evolve into a carpet cleaning company over the next

. couple of years. All new branches will be started as carpet cleaning only and we will be getting rid of all our other

_ services other than water restoration.

| Let me know if you have any questions.

Thanks,

; Eric

DAN O'BRIEN
Senior Account Manager

TF; 617-249-2692

C: 617-483-3719

E: dobrien@propelmarketing.com
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DAN O'BRIEN

Senior Account Manager

¥: 617-249-2692

C: 617-483-3719

E: dobrien@propelmarketing.com

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OE048
From: jJmyers@propelmarketing.com
Sent: Tuesday, April 25, 2017 6:27 AM
To: Eric VanZwieten
Subject: Re: New marketing direction

Roger that. We'll have that info for you tomorrow.

Sent from my iPhone

Jake Myers

Channel Sales Manager

E: jmyers@propelmarketing.com
P; 614.361.6317

 

 

On Apr 25, 2017, at 4:03 AM, Eric VanZwieten <ericvz@mytechnicare.com> wrote:

Just to make sure we are on the same page, | pay $6000 a month for SEM and Facebook ads. | want to
know how much of that $6000 is being spent on the ad buys and how much is going towards overhead?

From: Jacob Myers [mailto:imyers@propelmarketing.com|}
Sent: Monday, April 24, 2017 8:10 PM

To: Eric VanZwieten <ericvz@mytechnicare.com>
Subject: Re: New marketing direction

Hey Eric - no problem. | don't know off the top of my head (it would be whatever the original
agreement was with Andy), but I'll have Dan pull it and have it for you on Wednesday.

Thanks!

JAKE MYERS
Channel Sales Manager

€: 614.361.6317 co
£: jmyers@propelmarketing.com

 

On Mon, Apr 24, 2017 at 8:00 PM, Eric VanZwieten <ericyz@mytechnicare.com> wrote:

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| Hey Jake, | would also like to know what percent of our SEM budget is going towards ads, and what

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; percent is going towards management?

From: Jacob Myers [mailto:jmyers@propelmarketing.com]
Sent: Sunday, April 23, 2017 10:03 PM
To: Eric VanZwieten <ericvz@mytechnicare.com>

Cc: Emily Adams <eadams@propeldmg.com>; Blary, Jamie <jblary@dispatch.com>; Daniel O'Brien
<dobrien@propelmarketing.com>; Krzysztof Turowski <turikke@gmail.com>
Subject: Re: New marketing direction

Hey Eric,
Thanks for the detailed note. We hear you loud and clear. We'll be prepared to discuss the
below on the call on Wednesday.

Thanks,

JAKE MYERS
Channel Sales Manager

C; 614.361.6317

E; jmyers@propelmarketing.com

<image003.jpg>

On Sat, Apr 22, 2017 at 4:37 PM, Eric VanZwieten <cricvz@mytechnicare.com> wrote:

' Hello digital marketing team, lots to talk about Wednesday.

I wanted to let everyone know we are moving quickly towards our new direction with branding
and I want to make sure everyone is on the same page and rowing in the same direction.
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We are now focusing all of our efforts on carpet cleaning and a couple of simple concepts:

1. Highest Rated Carpet Cleaning

2. Local
3. Pet Friendly ( we get pet stains and odors out and our cleaning process is safe for pets
and kids)

4. Lowest Price

We are the highest rated local carpet cleaning service that is pet friendly at the lowest

price. There are many ways you can put these concepts together, but the main point is that we
are going to become the carpet cleaning company anyone with a pet will want to use because
we are the highest rated, pet stain and odor experts at the lowest price and we are local. We

| | want to gear all of our marketing efforts towards this goal. There is no carpet cleaning

company out there that has their brand connected with pet owners the way we want to. We are
going to put pets on all of our marketing collateral so everyone starts to associate our brand

 

with pets. I would like to start using these four concepts in as many different phrases as
possible so we can start legally protecting the pet friendly concept through usage of marketing

|| phrases.

|: | want to start using more of our reviews from facebook in our ads along with images of

pets. Attached you will see how we have done this in print and you can check out our web site
and facebook to see how we have done it there. Please take a minute and read through our
carpet cleaning page to get a good idea of what we are trying to do
https://www.mytechnicare.com/carpet-cleaning/. You will notice we have implemented all of
the suggested changes to the web site in addition to some new stuff. Chris has been doing
some amazing stuff to our site and he is now in the process of “SEOing the hell out of our
site.” All geared towards our new marketing direction. He has also made some changes to our
schedule-a-visit pages so we can more accurately track when visitors are abandoning the
scheduling process.

Additionally, I have been doing some research into our SEO and have found that we are
lacking in many ways when it comes to SEO. I recently found out that nothing has been done
with our local business.google profiles. I am in the process of taking those over myself and
building out our three local business.google pages. We have also started advertising on Yelp,
which should help on local searches in addition to some other sites we will be joining soon
such as Thumbtack and HomeAdvisor. I have gone over our SEO with a couple of tools and

: + consultants, none of which paint our SEO in a good light. We are not only getting crushed by

the national brands, but we are also getting crushed by smaller, less professional local
competitors. When we meet next week I want to go over our SEO campaign in-depth with as
much analytical data as possible and figure out what has been done and what still needs to be
done, I want specifics. I want to also figure out if this is the right team to be handling our
SEO. I have spent over $60,000 on SEO already, we have been “doing” SEO for over a
decade, now is the time for results.

 

 
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Our SEO, SEM, Facebook, Angie’s List, web site, print ads and all of our other marketing
efforts must be working together, rowing in the same direction. We must do everything we
can to work together and make the user experience as seamless as possible. That includes
using techniques and parameters to make our site friendly to the local visitors in our different
markets. When we direct visitors to our site from Atlanta, our site needs to look like it was
designed for Atlanta. Remember, local is one of our main marketing concepts. I recently
found out we were sending Facebook carpet cleaning ads to our home page without setting up
the right branch parameters for them. We need to be sending them to our carpet cleaning page
and setting the correct branch and discount parameters. I have been asking you guys to do that
for years.

I will be getting our cost per new customer down to $30 one way or another. As you may be
able to tell, my patients is running thin these days. We have one hell of a concept, great
branding, great discounts, incredible ratings, we even have our hiring and training systems
straightened out so we should be able to keep up with demand and quick growth while
providing top quality service, so now all we need to do is make our marketing system efficient
enough to scale quickly. In order to do that we need to get our cost per new customer down to
$30 (SEO & SEM). I have created a social media referral system that is exploding and costs us
$12.50 per new customer. I will be cutting all advertising and marketing efforts that don’t get
the cost per customer down to $30 soon.

Let me know if you have any questions or if you need anything from me before our meeting

; next week, I look forward to a very productive meeting!

Thanks,

' Eric

(mean guy who used to be fun)
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0E048
Eric Jones
From: Eric VanZwieten <ericvz@mytechnicare.com>
Sent: Tuesday, April 25, 2017 4:09 AM
To: Daniel O'Brien
Ce: Jacob Myers; Emily Adams; Blary, Jamie
Subject: RE: Technicare - Highest rated, local, pet friendly, lowest price!

Dan, | have not heard back from you on the URL stuff either, Have you implemented the URL changes in our ads yet? Or
are we still sending ads to pages that don’t make sense to the visitor?

From: Eric VanZwieten

Sent: Friday, April 22, 2017 3:18 PM

To: ‘Daniel O'Brien’ <dobrien@propelmarketing.com>

Ce: Jacob Myers <jmyers@propelmarketing.com>; Emily Adams <eadams@propeldmg.com>; Blary, Jamie
<jblary@dispatch.com>; 'Krzysztof Turowski' <turikke@gmail.com>

Subject: RE: Technicare - Highest rated, local, pet friendly, lowest price!

Hey Dan, glad someone was listening! | have been using a tool to watch our site visitors live on our site. | can see the url
they used to get to the site and | can watch them move from one page to the next. I have noticed when visitors come
from our facebook ads the url looks like this:

https://www.mytechnicare.com/?utm source=Propel Social&utm medium=Facebook Ads&utm campaign=T
echnicare_Columbus

Instead of directing people who have clicked on a carpet cleaning ad to our home page, we should be directing
them to our carpet cleaning page.

We should also be setting up some other parameters for them as well, so our site is geared towards their
experience. We should be displaying the correct branch, phone number, service and discount. If you use the
BranchSlug parameter the site will display the correct phone number

Use these parameters in the url to make this happen:

https://www.mytechnicare.com/carpet-cleaning/

service=carpet-cleaning

branchSlug=columbus

branchSlug=louisville

branchSlug=atlanta

coupon=3 Area99

coupon=4Areal29

coupon=FreePetTreatment

Example:
https://www.mytechnicare.com/carpet-cleaning/?service=carpet-
cleanine&branchSiue=columbus&coupon=3Area99&utm_source=Propel Social&utm_medium=Facebook Adsécutm_ca

mpaign=Technicare_Columbus

This same concept should be used with our SEM if at all possible.
Also, I have seen some negative comments on Facebook that our same ad keeps showing up on a person’s wall, so ] want

to make sure we are using as many different variations of our ads as possible.
Thanks,
Eric
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From: Daniel O'Brien [mailto:dobrien@propelmarketing.com]

Sent: Friday, April 21, 2017 1:59 PM

To: Eric VanZwieten <ericvz@mytechnicare.com>
Cc: Jacob Myers <jmyers@propelmarketing.com>; Emily Adams <eadams@propeldmg.com>; Blary, Jamie

<jblary@dispatch.com>

Subject: Re: Technicare - Highest rated, local, pet friendly, lowest price!

Thanks Eric! Just circling back and letting you know we're working on incorporating that language into the
Facebook ads and the SEM ad copy

Dan
On Thu, Apr 13, 2017 at 5:37 PM, Eric VanZwieten <ericvz@mytechnicare.com> wrote:

Hi team, | would like all of our advertising focus to be on carpet cleaning and these four concepts: Highest
rated, local, pet friendly, lowest price.

« We want to start taking advantage of the fact that we have the highest rating of any local carpet cleaning
company in Facebook, Google Reviews, Yelp and Angie’s List.

We are a local company and we have a local owner at each one of our branches. People like local, so
let’s make sure people know we are local.

We are pet friendly in two ways, we are very good at getting out pet accidents and the process we use
and the chemicals we use are very safe for pets.

Especially our carpet cleaning prices are very competitive and we definitely have the lowest prices of
anyone rated even close to us.

*

We are in the process of getting these four concepts into as much marketing communication as possible. Ifa
homeowner has a pet, we want them to understand that we are the right company to call. There are a lot of
homeowners with pets and they need their carpets cleaned often!

We are running two specials that get some of these concepts across, | area of free pet treatment and $99 for 3
areas.

We need to start getting creative in order to get the attention of pet owners.

I would like to make sure that our visual branding stays fairly consistent. Please see the attached as example
and you can check out our latest posts on facebook. We are going to evolve into a carpet cleaning company
over the next couple of years. All new branches will be started as carpet cleaning only and we will be getting
rid of all our other services other than water restoration.

Let me know if you have any questions.

Thanks,

Eric
Of048 — Saenbincev-wy Dee Ges Reese Hb HeanTny Has PEGMADE AGP MARSH N9 3P12 04
DAN O'BRIEN

Senior Account Manager

T: 617-249-2692

C: 617-483-3719
E: dobrien@propelmarketing.com

 

 

 

 
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Eric Jones
From: Daniel O'Brien <dobrien@propelmarketing.com>
Sent: Thursday, April 13, 2017 5:52 PM
To: Eric VanZwieten
Ce: Jacob Myers; Emily Adams; Blary, Jamie
Subject: Re: Google Local
Hi Eric,

Turns out | spoke too soon and we actually do have that login info:

Gmail: technicarepropel@gmail.com

Password: P@ssword16!
You should be able to access thase now
Dan

On Thu, Apr 13, 2017 at 5:48 PM, Daniel O’Brien <dobrien@propelmarketing.com> wrote:
Hi Eric,

| apologize for not getting back to you earlier, we're looking to see if we have the logins for the Google+ pages but |
don’t think we control them.

i'll try to get to the bottom of whether or not we do ASAP.
Dan
On Thu, Apr 13, 2017 at 5:37 PM, Eric VanZwieten <ericvz@mytechnicare.com> wrote:

Hi Dan, | am getting extremely frustrated trying to update our google local pages. | am preparing to start a massive

: | Campaign to get our clients to give us google reviews, but | don’t want to send them there until everything is updated.

| Yesterday | updated what | thought was our google local pages. Today | was testing the links we will be emailing out

to our customers to try to get a bunch of google reviews, but everything looked different. | called google today and
' got the correct URL’s and I tried to get ownership of our business.google pages. They said a gmail address starting in
“TE” has ownership of all three branches right now. If you have that email address please look for the ownership
request emails so | can get that going as soon as possible.

' Let me know if you have any questions.

Thanks,

| Eric
|

tf Eric VanZwieten
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Technicare
'

10366 Liberty Rd S

Powell, OH 43065

614-766-5040 ext 709

| | From: Daniel O'Brien [mailto:dobrien@propelmarketing.com]

Sent: Friday, March 24, 2017 9:18 AM

To: Eric VanZwieten <ericvz@mytechnicare.com>

||} Ce: Jacob Myers <jmyers@propelmarketing.com>; Emily Adams <eadams@propeldmg.com>; Blary, Jamie

| || <jblary@dispatch.com>
Subject: Pet Treatment Facebook Ads

Good morning Eric,

 

 

My team put together a bunch of pet treatment ads for you to choose from:

i} https://docs.google.com/document/d/1q5u7ATIMMb3NLwrdUL_k7Bp-wSsV4FgREGQWEP7Kg00/edit

 

| think if we picked two to run (at least for now, maybe switching them up later on) we would be good.

Let me know if you like these and if we can go ahead and launch them, we'll also create them for the other two
locations once we have your feedback.

 

Pi! Dan
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||| DAN O'BRIEN

' | | Senior Account Manager

Pty

||| ot 617-249-2692

||| C: 617-483-3719

| E: dobrien@propelmarketing.com
C

 

 

| DAN O'BRIEN
Senior Account Manager

|
|| T:617-249-2692
|} @:617-483-3719

| E: dobrien@propelmarketing.com

 

 

 

 
SEARCH ENGINE OPTIMIZATION
FOR LOCAL BUSINESS

 

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= ThriveHive THE LOCAL SEO GUIDE

The world of marketing is shifting in favor of local businesses and
away from large national chains - but only for those who know how
to take advantage of the shifts. There are more ways than ever for
a small, local business to spread the word about the products and

services they offer to ihe community. At the heart of much of this
oof eroutelallay lies that chance to be discovered online by someone
performing a search. According to Google 97% of consumers searc
online for local businesses, so it's important to be present when
someone is looking for what you offer.

 

The good news is that there are things that you can do to improve your chances of being found online =

this is known as Search Engine Optimization (SEO). Simply put, SEO is all about making your wisbsife shew? 3
up as prominently as possible for relevant search engine searches. In this ebook we ‘ILwalk yout! throughs “all
of the key elements of local search engine optimization. After you have absorbed the materi aly yOu. su Wwil ll bes:

empowered to start working on all the free ways to generate more traffic and leads for your business:

 

There are 5 pillars to search engine optimization for local business. We'll go through each oneliM@SBth ae) az,
help you understand why each is important, and how you can improve. Tne five pillars are: =

 

  

ONLINE DIRECTORIES

+ KEYWORDS
ON-SITE-OPTIMIZATION |
CONTENT GENERATION |
LINK BUILDING

 

 

SEO is a process that

takes time, patience, and
persistence, but the rewards , a
can take your business to a 7 . a
whole new level. So grab a
cup of coffee and dig in!

 

 

 
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ONLINE DIRECTORIES

GET STARTED IN ONLINE DIRECTORIES
WITH BEST PRACTICES

Today, when a person wants to find a business or a type of service
there is a good chance they will start with an online search. Online
directories are the digital version of yesterday's phone books; if you
aren't listed correctly, you are limiting your ability for potential
customers to find you. Put your best foot forward by ensuring that
your business is listed with all of the relevant info fields filled out.

ThriveHive has identified nine online directories that
are a great place to get started when it comes to
listing your business online. Before going io the nine
directories it's important to first review the tyoes of
information that you will want to be checking:

Is your business listed in the directory? Many times
we find that a business (especially if it is new) is not
listed at all in a directory. This is a missed opporiunity
to be visible to potential customers.

Is your business name accurate? While ihe name
of a business may seem like a fairly straightforward
element to a directory listing, we frequently find
businesses listed under inaccurate names. Keep
your business name consistent to avoid confusing
your customers and potentially losing sales.

Is your business address present and accurate?
Even for a business that does not have a meaningful
physical presence It is important to have an accurate
address in your directory listings. Without a physical
address Google may deemphasize your listing when
a search is conducted, decreasing your overall
visibility.

Is your phone number listed? Having a phone

number is important to ensure that you are making it ~ -

as easy as possible for a potential customer to get in
touch with you. ThriveHive also recommends using
a tracked phone number for your directory listings
to enable you to monitor how much business you
receive from your directory listings.

Is your website listed? Although not all directories
allow you to list your website, most do and it's a good
idea to Include it whenever possible, Some potential
customers will want to contact you directly by phone,
but others will prefer to look at your website io learn
more about your business before contacting you.
Listing your website accurately allows your potential
customers to get in touch with you the way that ihey
prefer.

Do you have a photo uploaded? While noi all
directories allow photo uploads, in some cases it

is an option. Wherever possible, uploading a photo
helps associate a face with your business, which

can increase the chances that someone will want to
contact you. The photo can be of the business itself, a
person, or the product. Pick something that you think
will resonate with your customers and help make you
stand out.
 

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Online directories are
the digital version of
yesterday's phone
books; if you aren't
listed correctly, you

are limiting your
ability for potential
customers to find you.

 
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WITH BEST PRACTICES

   

GET STARTED IN ONLINE DIRECTORIES

 

The nine directories below all represent great places for you to get your ousiness listed. In each case
you should go to the URL listed and look for the place that enables you to either look for an existing
listing or add a new Listing.

Aword of warning; each directory has its own process for allowing you to manage your listing and,
depending on a number of factors, it can be frustrating at times to get your business listed properly,

It also may take some time. For example in the case of Google, they actually send you a physical
postcard with a verification code to ensure that you really have a business at the location specified. Be
patient and stick to the process.

 
 
 

>» Yahoo! Local “

 

>» Bing
>> Superpages >> CitySearch » @

  

 
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om KEYWORDS

amma WIA /HY KEYWORDS MATTER

One of the most important ways that people will find your business
is by performing a search in Google. Because you have the ability
to influence how well you rank in search engines for any given word
or phrase, it’s important to do keyword research to first understand
what you want to target. Once you have target phrases In mind, you
can use them in your ongoing SEO efforts.

PERSONALIZATION
The right keyword roach for Pe onde is changing
rapidly due to the i

 

   

United Slates someone was oerforming a search, The top ten
results for someone in Idaho would be exactly the same as
for someone in Mens setts. | This w was as not good for local

 

 

 

 

  

smaller local Paine fer breater 5 neatch terms like "florist"

 

 

Mee

Today, that is no longer the case. When you go on the internet,

Google can see the approximate location of your computer and they are increasingly tailoring the results
to your geographical location. If you are logged into a Google account, they are also tailoring the results of
your search to you personally; based on other information they have about you.

LET'S PICK SOME KEYWORDS

Now that you have some background on why keywords are important and how personalization is playing
a role, it is time to actually pick some keywords! There are two basic ways of picking keywords - the
common sense approach, and the more quantitative advanced approach. If you are just getting started
with your search engine optimization | highly recommend starting with the common sense approach. If
you have already been doing some SEO and you want to start taking it to the next level, skip ahead to the
Advanced Approach to Picking Keywords.
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KEYWORDS

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THE COMMON SENSE APPROACH TO
PICKING KEYWORDS

This personalization means two things for local
business owners wno are trying to do search
engine optimization:

You Can Target Very Competitive Search Terms:
Locally oriented businesses can now consider
targeting extremely competitive broad search
terms like “florist” or "pizza", where before it would
have been impossibte for them to show up in the
results for those ulltra-competitive terms.

Keyword Rankings Are No Longer the Best

Way to Track Progress: The idea dftracking your
rankings in the search engines fo Ke words really
doesn't work anymore. Becauseéveryone sees
different search results, it doesn't really: make
sense to try to keep track of whether you are in
position 1 or position 10 for a given search term -
the person sitting next to you may see completely
different results. Therefore, it now makes more
sense to track Our goal with the common sense
approach to picking keywords is to identify the
mast common phrases that people will use

to find your business and then create a list of
approximately 10-50 keywords and phrases.

 

 

  

The first step is to identify the high level words
and phrases that people use to describe your
products and/or services and your industry. If

you are a florist, ihat list might look something like
this:

Florist
* Flowers
* Bouquet

The second step is to think of the modifiers that
people will put on those keywords to find the
products and/or services that you are selling.
Those modifiers may include words that describe
quality (i.e. “best"), words that describe a specific
occasion (i.e. “wedding’), words that describe

a specific type of your product or service (ie.
“roses'), or words that describe your geographical
location (although Google is trying to make these
modifiers less necessary in search). For the florist,
this list might look something like this:

* Florist

- Flowers

- Bouquet
Best Florist
Best Bouquets
Beautiful Flowers

: Beautiful Bouqueis

+ Wedding Bouquets

* Wedding Flowers

* Funeral Flowers

* Funeral Bouquets
Roses
Chrysanthemums
Lilies
Cambridge Florist

* Kendall Square Florist

 

There you have it. Now you have a list that you
can keep in the back of your mind as you start to
do your search engine optimization. You'll want to
include these keywords in the text of your website
and you'll also want to keep them in mind for

the more advanced on-site optimization and link
building that is covered in the later sections of
this ebook.
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KEYWORDS

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THE ADVANCED APPROACH TO PICKING KEYWORDS

The advanced approach to picking keywords starts with the same concept of
generating a list of words and phrases that you think people will use to find
you, out then takes it a step further by using a quantiiative analysis to rank the
importance of the phrases to your business.

The first step is to generate a list of keywords. If you have already been doing
SEO for a while you can just puill outyour existing:list: If you don't have that list
yet then go back to the Common Sense Approach to Picking Keywords and
make a list. BO Pha tobe,

The second step is to get two pieces of information: how many times

people search for each keyword and how much competition there is for

each keyword, It is important:to-emphasize-that while we can numbers for
both of these metrics, those numbers are really only approximations of the
true information that we would love to:have. Google does not release exact
information for local markets, but the national data can still be used to help us
approximate. ae ane

In order to get the quantity of searches.wé need use Google's free keyword
tool, normally used for their advertising platform. Google has made this tool
available to anyone, even if you-aren'tadvertising with them. You can find the
keyword tool here, or simply Google the phrase “adwords keyword tool’

Once you are in the Keyword Tool you can research any keyword you would
like. There are a lot of different filters and ways of searching, but we are just
going to keep things simple for now, Enter your keywords and then record the
‘Local Monthly Searches’ which is the number of searches that occur in your
country.

The next step we are going to take is to determine tne amount of competition
for each keyword. You may have noticed that in the Google AdWords

tool there is a little indicator for the level of competition, but this is for

paid search only. That level of competition may be completely different

from the competition in organic search results so we aren't going to use

it. Instead, go to google.com, simply type in a keyword or phrase (without
quotes) and perform a search. Just below the search box Google tells you
approximately how many search results there are for the keyword. This is only
an approximation for the true competition, but it will be directionally accurate,
50 that number of search results is what you will want to record for the
‘competition’ number of each keyword.

Picking
Reywords
uses a
quantitative
analysis to
rank the
importance
of the
phrases

fo your
business.
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dip PUTTING IT ALL TOGETHER - KEYWORD EFFICIENCY
INDEX (KE])

Now that we have a proxy for both competition and the level of searcn
volume, we can come up with a number that helos us better understand
how attractive it is to try to target each keyword — the Keyword Efficiency
Index.

There are multiple ways to calculate a KEI; we are going to use a method
that follows the formula:

 

KEI = (search volume)? / (competition)

By squaring the search volume before dividing by the competition we end up with a KEI number that
really highlights the most attractive keywords- the higher the KEI, the better. Rank your list in order of KEl
and this is theoretically how important it is to rank for each keyword.

CAVEATS

Once you have your KEI ordered list of keywords it is highly advisable to do a little common sense
analysis and reordering. A key component that this approach does not take into consideration is how
effectively each keyword will actually turn into a lead and eventually a customer. You may have some
amazingly attractive keywords in your list for producis that really aren't your strong suit. Don't let a
keyword list change the focus of your business! The other factor thai is not well reoresented in a KEI list
is how search competition at a local level cannot be fully represented by the global number of search
results. So, while this list will help you get a sense of which words to be focusing on, please use some
common sense when selecting your keywords. Once you start measuring results (including leads) you
can refine the list over time.
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(03 ON-SITE OPTIMIZATION |

A Ae WHAT IS IT AND WHY IS IMPORTANT?
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On-site optimization is the process of making changes to your own
website to ensure that it is ranking as well as possible for the search |
terms that you care about. There are a number of technical (and =
nontechnical) improvements that are very regularly overlooked.
Depending upon how your website is built, almost all of the recom-
mended areas of improvement can be changed without involving a
website designer. However, if you don't have time, or if you just don't

_ feel comfortable making the changes yourself you can always give a
list to your designer.

41 AREAS TO OPTIMIZE ON YOUR WEBSITE

1. Title Tags 2. Meta Description
Title tags are what search engines display as the Meta descriptions are the text that shows up in
title for each page that shows up in the search search engine results below the title tag and below
results, The keywords that get used not only the link to the site. The description is not critical
effect how well each page will rank in Google, for how well a page ranks in search engines, but it
but they also affect how frequently people click does play an important role in determining whether
through io a given page. or not someone who sees you in the search results
will actually click through to the page. This is your
Optimal lengths for title tags to avoid being opportunity to create a great markeling message
cutoff should be 45 characters that will entice someone to click.
Use keywords that you want to rank for
(title tags should vary by page) - Length should be a maximum of 155 characters
Minimize the use of stop words like ‘the to avoid being cutoff
and “is’ «This should be a marketing message that varies
Preferred format is to put keywords first by page

followed by a pipe and the company name
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3. Header Tags

Header tags are the code on a web page that you can use to help This is the code you use
give a hierarchical structure to your webpages. If you have something - toindicate a header tag:
that is effectively the “headline” of a webpage it should be labeled

with an "H1" tag in the code on your page. Other titles _ <hi>Heading 1</hi>

or ohrases that deserve special emphasis should get the "H2" tag. H ea a 2 n 4
Header tags are himl tags that helo a search engine understand g

how your text is structured and they are an opportunity to <h2>Heading 2</h2>

emphasize keywords .
Heading 2

- Use H1and H2 tags with appropriate keywords that vary

by page (H3, H4, and Hs5 tags are less important) _  <h3>Heading 3</h3>
4. Alt Tags Heading 3
Alt tags are html tags tnat allow you to specify text to describe <h4>Heading 4</h4>
website images. Without an alt tag, search engines don't have any Heading 4
idea what an image on a webpage is about. Get credit for relevant
content by using alt tags. The code for alt tags looks something like <h5>Heading 5</h5>
this: <img sre="mypicture,jpg” alt="my picture description"> / Heading 5

«  AlLimages should have alt tags

: Alt tags are an opportunity to use more keywords (although they
should be used appropriately - no keyword stuffing) that help
your web pages as well as your images rank higher in search
engines

5. Internal Links

Have you taken the opportunity to do an appropriate amount of
linking within your own website? We'll talk more about links in the
section dedicated to this topic, but for now just know that those links
are important {even within your own website) and should be included
wherever appropriate in the text on your website.

Internal crosstinking improves both the SEO and usability

of your webosite
Use keywords as the text for internal links (anchor text) whenever

appropriate
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6. Flash

Flash is a technology that can be used add
various types of animation to websites. ILis known
for producing visually appealing websites, but
unfortunately the technology blocks search
engines from reading most of the content of a
website (they are also extremely difficult to edit).

- Flash is not readable by search engines and
should therefore be minimized or eliminated
to improve the ability of the search engines
to understand your site content

7. Robots.txt and a sitemap

Robots.ixt and sitemap files are two files that tell
a search engines which pages to include in the
search results, and which pages to exclude. It is
important to tell Google where to find all of your
website pages to ensure that they get indexed,
and it can be equally important to tell Google
which pages not to index if you have information
that you don't want to be in the searcn engines.
You can use Google's Webmaster Tools to setup
and manage both of these files.

+ Sitemaps are files that help search engines
understand ihe structure of your site
and find all of the pages

* Robots.txt files tell search engines to avoid
indexing files or pages that you may want
to keep out of search results

8. Main Site Navigation

The main navigation of your website is an important
area that search engines use to determine what
your website is all about. It is important to use
some specific and non-generic terms to accurately
describe what your business is all about.
Use descriptive titles wherever possible that
inctude keywords
» Using text instead of images allows improved
site crosslinking
+ Although alt tags can be used to label site
navigation images, they are not as powerful
as using texi301 Redirects

As far as search engines are concerned, if you
enter “wwav" at the beginning of a website address
or not, you are requesting to go to two different
websites. Having the search engines think those
two websites are different (even though they are
really tne same) can have significant negative
consequences on your search engine optimization.
You can and should setup what is called a "301
redirect” with your website hosting company in
order to fix this problem.

301 Redirects tell search engines to direct all
traffic to either http://www.yoursite,com or
nitp://yoursite.com

You can direct traffic either location, out it
should only be one location - withoul a 301
redirect you split your SEO authority
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9. Images and Video

Everyone has heard the phrase that “a picture

is worth a thousand words’ before. The same is
irue on-the-web: \W/hile the words on your website
have traditionally been the primary thing that
search.engines read, increasingly pictures and
video are playing important direct and: indirect
roles in-getting-oeople-to-find your website. They
also help te:coavert websitetrafic. into: leads or
GUE.

. Utilize i images and video to. halo convey your
message =
Google's Panda update gives SEO credit to
sites with a good look and feel
Use engaging multimedia content to
maximize visitor engagement

10. Readable URL's

Both people and search engines like it when you
use URL's that can actually be read by a human, It
helps people to understand and trust the content
of the page they are about to visit. Some website
content management systems like Wordpress do
this automatically,

Using human readable URL's such as “mysite.
com/buy-my-product” improves search
engine click through rates as well as search
engine rankings

If you have mastered the 11 areas of on-site
optimization that we just went through, you'll

be off to a great start. If you aren't sure how to
implement some of the fixes that were discussed
above, either get in touch with your web designer
or do a little research online if you are more of
the DIY type. Most of the fixes don't take that long
once you know how io apply the fixes.

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11. Content Generation

Content generation is something that can be
beneficial to your marketing in many ways, but
we'll focus on the SEO benefits in this ebook.
There are many different formats of content that
you can create today (images, text, and video), and
there are many different places where you can
oublish that content (your website, social media,
other people's websites).

In many ways, content is a central strategy to any
successful local search engine optimization effort.
Each piece of content you create is another way
for someone to find your website. Over time, the
accumulation of content that is relevant to your
business will generate a significant amount of
free traffic io your website. It does take time to
create the content, but you need to look at it as an
investment because it will keep working to bring
traffic to you 24 hours a day for as long as you
keep the content published.
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= CONTENT GENERATION

In this section we'll cover where you should publish your content,
what kind of content you should create, and how you should post
content.

WHERE TO PUBLISH

Content takes time to create, so you want to be sure that you publish it in the right locations to get the
most out of it. in many cases you will want to publish your content in multiple locations (i.e. you may want
to publish a blog article on your website followed by an introductory paragraph on your Faceoook page)
to maximize the marketing effectiveness. Publishing in multiple locations allows you to reach a broader
audience and enables you to build links (link building will be covered in the next section of this ebook).
However. for the purposes of showing up in search engine results, you usually want to have your website
be the anchor for your content. There are three central reasons why youll want to center your content on
your website:

Your website represents your biggest opportunity to be found in search engines. Google will show
every page on your website as a separate entry in the search results, Posts to Facebook, Twitter, or
other social media sites do not get shown in Google as prominently (or at all), so posts themselves
don't represent the best way to be found directly in Google.

Your website is frequently the most complete representation of what your business does and your best
chance to convert someone surfing the internet into a lead or a customer. There are certainly exceptions
to this - some people develop extensive presences on Facebook for example that outoerform their
websites, but they are the exception rather than the norm.

Flexibility to leverage any form of marketing. By anchoring your content with your website you can
leverage virtually any form of marketing and have a place to drive that traffic. As we'll cover in the link
building section of this ebook, if people link to your content you want them to give that credit to your
website, rather than another person's website.

Once you have anchored your content with your website, you will certainly want to consider other marketing
avenues such as email and social media for distributing your content. However, in order to limit the scope of
this ebook to SEO, we will leave those other marketing tactics for another ebook.
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There are a few notable exceptions to the website
centric content strategy. There are some 3rd

party websites that consistently snow up very
prominently in the local search results. The
directory listings in the first part of this ebook,
along with your social media profiles in Twitter,
Facebook, and Pinterest, as well as YouTube
videos, all rank very highly in Google. You will want
to be sure that you have uploaded enough content
to each of these channels to nave them show up in
Google. After that has been accomplished you will
probably want to continue adding content to your
social media pages, to helo with that marketing

and link building, but you will have taken care of
the obasic SEO benefits.

WHAT TO PUBLISH

It is common for small business owners to
complain about the difficulty in writing about their
business or industry. In reality, just about any
business can publish a steady stream of content
if the owner sees enough value in creating the
content to create a habit. To ensure that you see
a return on the investment you make in creating
content, we have put together 4 types of content
that frequently work well and 3 types that you
might want to avoid:

4 Types of Content to Publish

Educational Content. One of the most

common and effective content themes to
follow is one in which you publish educational
content that positions you as a thought leader
in your industry. This is frequently a much
bigger reservoir of potential content than most
people realize and it is always a good thing for
people to think you are a thought Leader in your
industry.

Image Centric Content. The web is currently
very graphically oriented, Big pictures get
noticed, so make them a component of
whatever you publish.

Insider Information. People love to hear about
how the inside of a company functions, Putting
a face to a name, or letting the world get a little
peak behind company walls is often a great
way to develop a closer relationship with your
customers or potential customers.

Industry News. This is very similar to the
educational content, just targeted a little more
towards recent events. Helping your clients

or potential clients stay on top of what is
happening in the industry is a great service to be
oroviding while simultaneously reinforcing your
expertise.

3 Types of Content NOT to Publish

Unimportant Personal Information. Unless
you are a celebrity, seople generally don't care
what you ate for breakfast that morning. Telling
people about yourself and the others in your
business can be a great way to connect, but
keep things professional. Save the personal
details for your personal life.

Other People’s Content. Don't plagiarize content
from other people. Many times giving a link to the
original source of the content is sufficient to take
a quote or brief passage. Read up on your digital
sharing rights and keep things original.

Unremarkable Content. The web is full of people
publishing content. If you are going to publish
something, be sure it is remarkable. Quality first, not
quantity. If you can nail the quality, start to up the
quantity and then you'll have a winning combination
on your hands.
 

Ten

There are many different
formats of content that
you can create today
(images, text, and video)

AND

there are many different
places where you can
publish that content
(your website, social media,
and other websites)

 
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HOW TO PUBLISH

Staying focused on your website, it is helpful to think of
your website in two separate parts when considering how
to publish content: your primary website and your blog.

- Your Primary Website:
I | a, |
Many small businesses have noi fully built out the
standard website format. There are relatively standard
types of content that visitors will expect to be aole to find

on your website, You will want to include this content so
visitors find what they are looking for, but also to maximize your SEO. If you're nol sure what to
include in your site, you can try the standard template below as a starting point (you may want
to modify this template depending upon the speci‘ics of your business):

 

 

 

 

 

 

 

 

Home Page
- Describe your business in a paragraph or two
Product/Service Pages
Create a subpage for each specific products/services category
that you offer
About Us
A couple paragraphs to give more detail about your business, the
location, people, and/or what makes you unique
* Blog
Contact Us
- Custom Pages
image gallery, videos, calendar, ontine store, etc.

Blog

After you have built out the core functionality of your website you'll want to turn to a blog to
continue the quest for publishing more content. Blogs have become a popular publishing tool
for smallbusinesses because they allow you to publish an almost infinite amount of content
without cluttering your website. The danger of trying to put too much content under the
orimary website is that at some point the website becomes extremely difficult to navigate.

As you make progress towards becoming a content marketer, you will find that your blog
becomes the cornerstone of your content. Many businesses struggle to blog on a regular basis.
but it is largely about forming 2 habit. Once the habit is formed, it becomes significantly easier.
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Below we have compiled 10 tactics to help you
blog on a regular basis:

1. Keep it short

Blog posts should not be novels. Readers of your
blog have very little time to consume the content
that you have written, so don't expect them to
stay fully engaged for more than a matter of
seconds or a couple minutes if you are lucky. An
ideal length for blog posts is about 600 words.

2. Time-box your writing

Like any document, an infinite amount of time
can be speni perfecting every last detail of a blog
post; don't allow your writing process to go on
forever. If it takes you 10 hours to produce a post,
you are going to blog very infrequently. A good
blog post should take no more than about two
hours to create (excluding any research you

may have conducted).

3. Put It on the calendar

People frequently leave the writing of blog
articles to be completed during their spare time
- which generally never happens. By prioritizing
olog writing and blocking out time on your
calendar, articles are far more likely to get written

4. Solicit help

Writing for a blog should not usually be the
exclusive responsibility of one person. The best
content is created by those who are closest to
the subject maiter, which is often not a person
in marketing or the owner of the business.
Spreading out the writing responsibility is critical
to maximizing the quality and quantily of your
content.

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5, Minimize bottlenecks

Ideally a blog is a living and breathing component
of your business. Not only does content need to be
generated regularly, but comments needs to be ita
responded to and positions need to be taken on eee
issues. It's important to minimize or eliminate review
processes that will impede the ability to move
quickly. Lay out a few guidelines and then try to have
just one person who is responsibte for the blog. That
responsible person can manage the publication
schedule of the blag while conducting a

lightweight review of the posts.

 

6. Keep writing quality expectations appropriate
Blogs are generally expected to be a less

formal means of communication, even for larger
corporations. Sloppy writing, poor content, and
blatant grammatical errors are not acceptable, but
blog articles do not need to be literary masterpieces,
By keeping writing quality expectations appropriate,
you can increase your blogging output.

7. Set realistic goals

Generally speaking, the more frequently you blog,
the greater the positiveimpact will be on your
marketing. But, it's important to set realistic goals to
ensure that you don't fail before you start. Using the
two hour per blog post guideline, almost anyone
snould be able to find time to create one article per
week, which is a great starting point for many small
businesses.

8, Don't forget to consider the benefits

Blogging is a longer term investment, but it will pay
dividends: it isn't just a time sink. IF you view blog
post writing as an activity that costs you time without
any benefit, your incentives to write will be limited.
Whether it means more web traffic to a person in
marketing or a betier position as a thought leader

to the business owner, don't forget to consider the
benefits of blogging.
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(04) CONTENT GENERATION

 

9. Create a repository for ideas

Ideas can be the stumbling block for many people. However, once
you write one or two posts, you will start to have many more ideas
Keen a repository of those ideas to help you and others in the

Setting up a blog for the first time of-bégirining to post regularly 8 1

should not take months of planning. Carve out 2 hours this week
and get a blog article published!

 

81% of US.
online
consumers
trust information
and advice
from blogs.

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05 LINK BUILDING

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WHY LINKS MATTER

Link building is an extremely important component of search engine
optimization. Google sees links to your site as a sign that others
value your website. This value increases the authority of your site in
the mind of the search engines which means that without making a
single change on your own website, you can start to rank higher.

THE STRUCTURE OF A LINK
The URL

The underlying premise of a link is that you will
be taken to anew webpage if you click. The
webpage location is known as a URL and looks
like this: htto://thrivehive.com . You always want
to be sure you link to the most appropriate place
on your website or others when putting in place a
link. The idea is to make the web interconnected
and easier to navigate. Links to your website build
up the general authority of the entire website,
and then the individual pages that receive the
links also receive improved authority. If you want
to improve the rankings of a particular page

on your website you'll want to generate links

to that specific page, but every link to your site
{regardless of the page) helps.

The Anchor Text

When a link is created. you can also specify the
text that is visible (instead of using the URL for

the text). This text is known as “anchor text’ and

in this example: Small Business Marketing, “Small
Business Marketing’ is the anchor text. Anchor text
is meant te give web surfers a better idea of where
a link will take them. Google puts a tremendous
amount of emphasis on the anchor text of the links
that ooint to your website, so this is where you
want to pull out your keyword list. Whenever it is
appropriate. if you can get the anchor text of your
links to include keywords, you want to do so, Don't
stuff keywords inappropriately, but do remember to
consider using them.
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WHERE TO GET LINKS

 

The reason why Google puts such a high value on links to your website is because for the most part
you don't control whether or not someone decides to link to you. That said there are things you can do
to maximize your chances of building inbound links. Below are 5 of the most effective ways for Local
businesses to build inbound links:

Partners
\Who are the people that you do business with? Any potential partner is a potential source of a tink. If they
have an obvious place on their website where they could link to you, don't be afraid to ask for a link.

Industry Resources/ Directories

In many industries there are one or two (sometimes more) important industry associations or simple
business directories that have a list of links to businesses. If the directories are free, be sure that you have
your company listed, Be a little more cautious of paid directories - they may not be worth the money.

Social Media

Most of the links generated in social media have what is known as a “nofollow” attrioute, which means
that technically the links are not supposed to pass on credit in the search engines. That being said. there
is increasing evidence that Google is placing weight on the links that websites receive in social media.
Expect to see an increase in the importance of these links over time.

Public Relations

\When a media outlet decides to write something about your business, there is frequently a link that
points back to your website. There are three common ways to generate this media attention; beg the
press to cover you, get noticed by the press for doing something out of the ordinary, or pay for a press
release. Any of the three approaches can result in some high value links to your website.

Guest Blog Posts

There are millions of blogs on the internet and all of them face the same problem that you face with your
own blag - they need content. For that reason. it has become a common practice for people to offer to
write a blog article for someone else's website. You need to offer exclusivity in these situations (you cant
also post the same blog article on your website because Google doesnt like duplicate content), but what
you get in return is a link back to your website. Not only will this link generate traffic directly from the
blog, but the link will also improve your SEO.
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HOW TO GET STARTED

Don't expect to do everything covered in this ebook In one
afternoon. Search engine optimization is a long term investment that
generally takes months before any results are seen. It is something
that should be looked at as an ongoing activity and investment in
the business. All of the techniques outlined in this ebook are geared
towards producing lasting and cumulative results. The great thing
about this type of investment is that once it has been built up It can
supply a steady supply of free leads for your ousiness.

Steady progress wins the race. Stick with it and don't expect results
overnight. Search engine results are a zero sum game. which means
that in order to be on the first page of Google you need to knock

somebody else off. If it was easy, then people would knock you off
the first page just as easily as you got there.

 

 
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There are three common scenarios that we see - we hope you embrace the guidelines put forth in this
ebook and end up in the 3rd scenario:

Scenario 1: Business owner is too overwhelmed so no action is taken. To fight this scenario, take things
step by step as we have outlined in this guide. Many of the tasks only take a few minutes.

Scenario 2: Business owner gets excited. dives in, and then stops making progress after a week or a
month of concerted effort. To fight this scenario, keep your expectations realistic. Don’t expect to wake up
in the morning having double the website traffic - ever!

Scenario 3; Methodical and continuous progress is made followed by significant positive improvements:
in the business. Be informed and make this your scenario! r
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ThriveHive is an all-in-one Guided Marketing Platform that

provides local businesses with a marketing plan, a professional

website, and the tools and expertise to effectively manage ail of
your marketing efforts, allin one place.

See how ThriveHive can help your business grow!

Request a Demo (It's free!)

 

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FRANKLIN COUNTY CLERK OF COURTS
GENERAL DIVISION, COURT OF COMMON PLEAS

CASE TITLE: TECHNICARE COLUMBUS LLC ET AL -VS- GATEHOUSE CASE NUMBER: 18CV002012
MEDIA OHIO HOLDINGS IT INC ET AL

TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
CERTIFIED MAIL

DOCUMENTS TO BE SERVED:
EXHIBITS A
EXHIBITS B
EXHIBITS C
EXHIBITS D
EXHIBITS E
EXHIBITS F
COMPLAINT

PROPOSED DOCUMENTS TO BE SERVED:

UPON:

DISPATCH DIGITAL D
GATEHOUSE MEDIA
OHIO HOLDING II INC
175 SULLYS TRAIL
PITTSFORD, NY 14534

GATEHOUSE MEDIA OHIO HOLDINGS II INC
CORPORATION SRVC COMPANY

50 WEST BROAD STREET

SUITE 1330

COLUMBUS, OH 43215

 

JUVENILE CITATIONS ONLY:
HEARING TYPE:

__ Date already scheduled at : Courtroom:

 

 

 
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Electronically Requested by: NICHOLAS KOLITSOS
Attorney for:
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FRANKLIN COUNTY CLERK OF COURTS
GENERAL DIVISION, COURT OF COMMON PLEAS

CASE TITLE: TECHNICARE COLUMBUS LLC ET AL -VS- GATEHOUSE CASE NUMBER: 18CV002012
MEDIA OHIO HOLDINGS IT INC ET AL

TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
CERTIFIED MAIL

DOCUMENTS TO BE SERVED:
EXHIBITS A
EXHIBITS B
EXHIBITS C
EXHIBITS D
EXHIBITS E
EXHIBITS F
COMPLAINT

PROPOSED DOCUMENTS TO BE SERVED:

UPON:

DISPATCH DIGITAL D
GATEHOUSE MEDIA
OHIO HOLDING II INC
175 SULLYS TRAIL
PITTSFORD, NY 14534

GATEHOUSE MEDIA OHIO HOLDINGS II INC
CORPORATION SRVC COMPANY

50 WEST BROAD STREET

SUITE 1330

COLUMBUS, OH 43215

 

JUVENILE CITATIONS ONLY:
HEARING TYPE:

__ Date already scheduled at : Courtroom:

 

 

 
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Electronically Requested by: NICHOLAS KOLITSOS
Attorney for:
